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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 LAS AMERICAS IMMIGRANT
 ADVOCACY CENTER, et al.,

                 Plaintiffs,
                                                                   Civil Action No. 25-0418
           v.

 KRISTI NOEM, Secretary of Homeland
 Security, in her official capacity, et al.,



                 DECLARATION OF COLONEL JENNIFER VENGHAUS

       I, COLONEL JENNIFER VENGHAUS, pursuant to 28 U.S.C. § 1746, hereby declare as

follows:

       1.       I am a Colonel in the United States Army and have served on active duty for 21

years. My prior positions include Legal Assistance Attorney (Fort Eisenhower, Georgia),

Operational Law Attorney (Task Force 134 (Detainee Operations) in Iraq), Command Judge

Advocate (513th Military Intelligence Brigade and 18th Engineer Brigade), Operational Law

Attorney (United States Army Europe), Chief of Justice (82d Airborne Division), Personnel Law

Attorney (Office of The Judge Advocate General, Pentagon), Special Victim Prosecutor (Fort

Cavazos, Texas), Senior Plans Officer (Office of the Judge Advocate General, Pentagon),

Executive Officer (United States Army Europe and Africa), Deputy Staff Judge Advocate (V

Corps), and Staff Judge Advocate (United States Army South). I make the following statements

based upon my years of service and experience in the United States military, personal

knowledge, and information made available to me in my official capacity.
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          2.      I currently serve as the Staff Judge Advocate for Joint Task Force Southern Guard

(JTF-SG), at Naval Station Guantanamo Bay, Cuba (NSGB). I have held this position since 2

February 2025. I am responsible for providing legal advice to the JTF-SG Commander and staff

on all JTF-SG operations. JTF-SG’s mission is to support the illegal alien holding operations

being led by Department of Homeland Security (DHS) at NSGB.

                      Missions Conducted at Naval Station Guantanamo Bay

          3.      NSGB serves as a key operational and logistics hub for the Department of

Defense, supporting a variety of missions including maritime security, humanitarian assistance,

and joint operations. Its unique geographic location provides strategic advantages, enhancing

U.S. defense capabilities in the region and serving as a critical forward operating base for various

military and humanitarian activities. 1  0F




          4.      Present on NSGB but separate from JTF-SG is Joint Task Force Guantanamo

(JTF-GTMO) which, since 2002, has been responsible for the safe and humane custody of law of

armed conflict detainees, as well as supporting ongoing military commission proceedings and

other processes involving those detainees. These operations take place on the “windward” side

of NSGB. (See attached map).

          5.      Since the early 1990s, part of NSGB has been used for migrant operations. DHS’s

Immigration and Customs Enforcement (ICE) and the U.S. Department of State have housed

migrants interdicted at sea with humanitarian protection concerns at the Migrant Operations

Center (MOC) at NSGB. The MOC is located on the “leeward” side of NSGB which is

separated from the “windward” side by water. Travel from one side to the other is conducted by

boat. (See attached map.)



1
    https://cnrse.cnic.navy.mil/Installations/NS-Guantanamo-Bay/

                                                      2
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                          Creation of Joint Task Force-Southern Guard

       6.      On 20 January 2025, the President, in Executive Order (EO) 14165, “Securing

Our Borders,” directed the Secretary of Homeland Security to “take all appropriate actions to

detain, to the fullest extent permitted by law, aliens apprehended for violations of immigration

law until their successful removal from the United States.”

       7.      On 29 January 2025, President Trump issued a Presidential Memorandum

directing the Secretary of Defense and Secretary of Homeland Security to “take all appropriate

actions to expand the Migrant Operation Center at [NSGB] to full capacity to provide additional

detention space for high-priority criminal aliens unlawfully present in the United States and to

address attendant immigration enforcement needs identified by the Department of Defense

and the Department of Homeland Security.” 2    1F




       8.      On 30 January 2025, the Secretary of Defense ordered the Commander, United

States Southern Command, to expand migrant operations at NSGB. JTF-SG was created to

execute that directive.

       9.      DHS, and more specifically Immigration and Customs Enforcement –

Enforcement and Removal Operations (ICE-ERO) maintains custody of all illegal aliens at

NSGB, while JTF-SG assists in the care of the illegal aliens. The role of military forces at JTF-

SG is to provide for the safe and humane care and control of certain illegal aliens at NSGB when

requested by and in support of DHS. JTF-SG currently provides supplies, food, care, shelter,

medical support, and security when it exceeds the capability of DHS.

       10.     Beginning on 31 January 2025, members of United States Army South deployed

to NSGB. As of 19 February 2025, JTF-SG consists of approximately 985 personnel, which


2
 https://www.whitehouse.gov/presidential-actions/2025/01/expanding-migrant-operations-center-at-
naval-station-guantanamo-bay-to-full-capacity/

                                                    3
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includes JTF-SG staff, medical, security, engineer, and logistics personnel. I arrived at NSGB

on 2 February 2025. On 4 February 2025, JTF-SG reached initial operating capacity when the

first flight of ten illegal aliens arrived at NSGB.

                       Transfer to and Housing of Illegal Aliens at NSGB

        11.     The Department of Homeland Security determines who is transferred to NSGB

and categorizes the illegal aliens by threat level prior to their arrival. High threat illegal aliens

(HTIAs), are those who DHS has advised pose a heightened security threat, and they are housed

in Camp VI, a hard-sided secure facility located on the windward side of NSGB, formerly used

to house law of armed conflict detainees. Low and medium threat illegal aliens (LTIAs and

MTIAs) are currently housed at the MOC building on the leeward side of NSGB.

        12.     As of 17 February 2025, DHS has transferred 128 HTIAs to NSGB, 127 of whom

are currently housed in Camp VI, with one returned back to the United States. Camp VI has a

maximum capacity of approximately 175, but current maximum capacity is 131 HTIAs due to

ongoing maintenance being performed in certain cells. United States Army military police serve

as guards inside Camp VI, under the oversight of ICE-ERO.

        13.     Between 9 February 2025 and 13 February 2025, DHS transferred 51 LTIAs to

NSGB. The LTIAs are currently housed in the MOC building on the leeward side of NSGB.

ICE-ERO agents and contractors provide all interior security for the LTIAs housed at the MOC

building, while military personnel assigned to JTF-SG provide exterior perimeter security.

        14.     Military personnel assigned to JTF-SG, with support from DoD contracts, provide

food and medical support to the illegal aliens held at the MOC and in Camp VI. Supplies for

illegal aliens, both at the MOC and in Camp VI, are provided by both DoD and DHS.




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                                 Individuals Named in Lawsuit

       15.     Tilso Ramon Gomez Lugo and Luis Alberto Castillo Rivera arrived at NSGB on 4

February 2025, and are housed in Camp VI.

       16.     Yoiker David Sequera arrived on 9 February 2025, and is housed at the MOC

building.

                                        Counsel Requests

       17.     Between 4 February 2025 and 12 February 2025 (the date a complaint was filed in

Federal District Court), no HTIA counsel made any requests for access to counsel. Any such

request would have been noted by facility staff and brought to my attention. Also, JTF-SG did

not receive any requests from DHS to facilitate illegal alien access to counsel.

                    Counsel Calls for Three Individuals Named in Lawsuit

       18.     On 12 February 2025, I was informed that attorneys seeking to represent Tilso

Ramon Gomez Lugo, Luis Alberto Castillo Rivera, and Yoiker David Sequera in federal court

wished to have unmonitored telephonic conversations with them.

       19.     On 14 February 2025, those attorneys proposed dates and times for these

conversations. Through consultations with DOJ attorneys and ICE personnel at NSGB,

arrangements were made for those phone calls to occur on 17 February 2025.

       20.     On 17 February 2025, Tilso Ramon Gomez Lugo, Luis Alberto Castillo Rivera,

and Yoiker David Sequera were each given the opportunity for a phone call with the attorneys.

It is my understanding that each illegal alien had one 60-minute unmonitored telephone

conversation with the plaintiff-petitioner attorneys. The phone call involving Mr. Sequera was




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held at the MOC, while the other two calls were conducted near Camp IV, under the procedures

detailed below.

                                         Notice to HTIAs

       21.     On 19 February 2025, I was informed that ICE-ERO personnel posted a DHS-

authorized notice at the MOC, informing LTIAs in both English and Spanish of their ability to

contact an attorney and providing them with the procedures on how to request such a call. JTF-

SG personnel posted the same notice in the common area of each cell block at Camp VI on 19

February 2025.

       22.     Subject to the procedures described below, as of 17 February 2025, HTIAs at

Camp VI have the opportunity to have confidential telephone calls with counsel, if those HTIAs

or their counsel request such a call.

                          General Procedures for HTIA-Counsel Calls

       23.     For the HTIAs housed at Camp VI, calls with counsel will be conducted in a

building near Camp VI. It has six telephones in six separate rooms, each with a table and chair

(one phone is currently inoperable and waiting on repair). These rooms can facilitate private

telephonic conversations between the illegal alien and the counsel while guards maintain line of

sight on the HTIA through the use of video monitoring (which does not include sound). This

building is a short walk from Camp VI. ICE-ERO is responsible for escorting HTIAs from

Camp VI to these telephones. For operational security reasons, this movement requires two ICE-

ERO escorts for each HTIA.

       24.     HTIAs in Camp VI will be able to inform facility staff regarding desire to have a

telephone call with counsel. The facility staff will have this information forwarded in a timely

manner to the relevant counsel, who can then initiate a call request as described below.



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       25.     Counsel will use a standardized form to request a counsel call with an HTIA. The

counsel will forward the completed form to a DoD email address designed to process such

requests. DoD personnel responsible for that email account will coordinate with facility staff

regarding the proposed day/time for that call. At the agreed-upon time, facility staff will bring

the HTIA to the building for the call.

       26.     A document memorializing this process and providing specific information on the

above steps is being prepared for use by counsel.

                                             Legal Mail

       27.     The transmission of privileged legal mail between counsel and illegal aliens at the

MOC and in Camp VI will generally follow the procedures used in the habeas litigation

involving law of war detainees. Legal mail originating from counsel will be delivered to NSGB

on a weekly basis via the Defense Courier Service. Legal mail originating from IAs will also be

transported to the Washington, D.C. area on a weekly basis.

       28.     A document memorializing this process and providing specific information on the

above steps is being prepared.

                                     In person counsel visits


       29.     JTF-SG and DHS are evaluating the feasibility and necessity of authorizing

counsel travel to NSGB for in-person counsel visits, in light of the extensive logistical challenges

with such visits, the potential need for counsel to possess security clearances, and the potentially

high volume of counsel attempting to conduct such visits.




I declare under penalty of perjury under the laws of the United States of America that the

forgoing is true and correct.

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                                                                 Digitally signed by
                                       VENGHAUS.JENNIFE VENGHAUS.JENNIFER.LYNN.12556
                                       R.LYNN.1255608254 08254
 Dated: )HEUXDU\               __________________________
                                                         Date: 2025.02.19 22:03:18 -05'00'


                                       JENNIFER L. VENGHAUS
                                       Colonel, U. S. Army
                                       Staff Judge Advocate
                                       Joint Task Force Southern Guard




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              EXHIBIT C
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                                 Leeward Side
                         Windward Side
